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                               UNITED STATES COURT OF APPEALS
                                  FOR THE ELEVENTH CIRCUIT
                                  ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                56 Forsyth Street, N W
                                                Atlanta, Georgia 30303


David J Smith                                                                               For rules and forms visit
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                                                June 06, 2022

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Appeal Number: 22-10868-F
Case Style: FP Augusta II, LLC, et al v. CORE Construction Services, LLC
District Court Docket No: 1:19-cv-00048-JRH-BKE

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electronic filing are available on the Court's website.

The enclosed order has been ENTERED.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Dionne S. Young, F
Phone #: (404) 335-6224
      Case 1:19-cv-00048-JRH-BKE Document 154 Filed 06/07/22 Page 2 of 2
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                      IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT



                                           No. 22-10868-F

FP AUGUSTA II, LLC,
FREEDOM'S PATH LIMITED PARTNERSHIP,


                                                         Plaintiff -Counter Defendants- Appellees,




                                                versus

CORE CONSTRUCTION SERVICES, LLC,

                                                         Defendant-Counter Claimant-Appellant

                                     --------------------------
                      On Appeal from the United States District Court for the
                                  Southern District of Georgia
                                     --------------------------

Before: NEWSOM, BRANCH, and BRASHER, Circuit Judges.

       “Appellees’ Motion to Transfer Consideration of Attorney’s Fees to the District Court” is

GRANTED. Consideration of whether Appellees are entitled to appellate attorney’s fees and the

amount of appellate attorney’s fees to which Appellees are entitled, if any, is TRANSFERRED to

the district court. See 11th Cir. R. 39-2(d).
